          Case 22-60043 Document 370 Filed in TXSB on 01/04/23 Page 1 of 3
                                                                                     United States Bankruptcy Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                    IN THE UNITED STATES BANKRUPTCY COURT                                January 04, 2023
                      FOR THE SOUTHERN DISTRICT OF TEXAS                                 Nathan Ochsner, Clerk
                               HOUSTON DIVISION

                                                          )
 In re:                                                   ) (Chapter 11) Subchapter V
                                                          )
 FREE SPEECH SYSTEMS, LLC,                                ) Case No. 22-60043 (CML)
                                                          )
                        Debtor.                           )
                                                          )

                  STIPULATION AND AGREED ORDER EXTENDING
                 THE DEADLINE TO OBJECT TO DISCHARGEABILITY

               The above-captioned debtor and debtor-in-possession (the “Debtor”), Neil Heslin,

Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel Fontaine (the “Texas

Plaintiffs”), David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole Hockley,

Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto Parisi, Carlos M. Soto, Jillian Soto-Marino,

William Aldenberg, William Sherlach and Robert Parker (the “Connecticut Plaintiffs” and,

together with the Texas Plaintiffs, the “Sandy Hook Families”) and the official committee of

unsecured creditors in the chapter 11 case of Alexander E. Jones (together with the Debtor and the

Sandy Hook Families, the “Parties”) hereby enter into this stipulation and agreed order

(“Stipulation”) as follows:

               WHEREAS, on July 29, 2022 (the “Petition Date”), the Debtor filed a voluntary

petition for relief under subchapter V of chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of Texas (the

“Court”);

               WHEREAS, on August 12, 2022, the Court entered the Subchapter V Deadlines

Order [ECF No. 65], setting the deadline for the Debtor to file a plan of reorganization (the “Plan”)

for October 27, 2022;
        Case 22-60043 Document 370 Filed in TXSB on 01/04/23 Page 2 of 3




                WHEREAS, on October 21, 2022, the Debtor filed its Emergency Motion for

Extension of Time to File a Plan of Reorganization [ECF No. 246], requesting an extension to file

its Plan;

                WHEREAS, on October 25, 2022, the Court entered the Order Granting Motion

for Extension of Time to File a Plan of Reorganization [ECF No. 254], which extended the deadline

for the Debtor to file its Plan until December 16, 2022;

                WHEREAS, on October 28, 2022, the Court entered the Stipulation and Agreed

Order [ECF No. 260] extending the deadline to object to dischargeability pursuant to any

potentially applicable law, including, but not limited to Bankruptcy Code section 523(c), to

January 5, 2023;

                WHEREAS, on December 6, 2022, the Debtor filed its Second Emergency Motion

for Extension of Time to File a Plan of Reorganization [ECF No. 299], requesting an extension of

time to file its Plan;

                WHEREAS, on December 19, 2022, the Court entered the Order Granting Second

Motion for Extension of Time to File a Plan of Reorganization [ECF No. 332], which extended the

deadline for the Debtor to file its Plan until February 17, 2022; and

                WHEREAS, the Parties have agreed to a corresponding extension of the deadline

to object to dischargeability pursuant to any potentially applicable law, including, but not limited

to Bankruptcy Code section 523(c), and without agreeing to the applicability of same. The Parties

expressly reserve their rights regarding same.

                NOW, THEREFORE, IT IS STIPULATED BY THE PARTIES AND, UPON

APPROVAL BY THE BANKRUPTCY COURT, ORDERED THAT:




                                                 2
       Case 22-60043 Document 370 Filed in TXSB on 01/04/23 Page 3 of 3




       1.      The deadline to object to dischargeability pursuant to Bankruptcy Code section

523(c) and any other potentially applicable law is extended to March 10, 2023.



Dated: ___________________
            August04,
            January 02,2023
                        2019
                                            _________________________________________
                                            THE HONORABLE CHRISTOPHER M. LOPEZ
                                            UNITED STATES BANKRUPTCY JUDGE

AGREED IN FORM AND SUBSTANCE:

 Free Speech Systems, LLC                            The Texas Plaintiffs
 By: /s/ Raymond W. Battaglia                        By: /s/ Avi Moshenberg
 Raymond W. Battaglia                                Avi Moshenberg
 Law Offices of Ray Battaglia, PLLC                  McDowell Hetherington LLP
 Counsel to the Debtor                               Counsel to the Texas Plaintiffs
                                                     -and-
                                                     Jarrod B. Martin
                                                     Chamberlain, Hrdlicka, White,
                                                     Williams & Aughtry, PC
                                                     Bankruptcy Counsel to the Texas Plaintiffs

 The Official Committee of Unsecured                 The Connecticut Plaintiffs
 Creditors of Alexander E. Jones
 By: /s/ David M. Zensky                             By: /s/ Alinor C. Sterling
 David M. Zensky                                     Alinor C. Sterling
 Akin Gump Strauss Hauer & Feld LLP                  Koskoff Koskoff & Bieder PC
 Proposed Counsel to the Official Committee of       Counsel to the Connecticut Plaintiffs
 Unsecured Creditors of Alexander E. Jones
                                                     -and-
                                                     Ryan E. Chapple
                                                     Cain & Skarnulis PLLC
                                                     Bankruptcy Co-Counsel to the Connecticut
                                                     Plaintiffs
                                                     -and-
                                                     Kyle J. Kimpler
                                                     Paul, Weiss, Rifkind, Wharton & Garrison
                                                     LLP
                                                     Bankruptcy Co-Counsel to the Connecticut
                                                     Plaintiffs




                                                 3
